       Jennifer R. Remington
^o '. Assistant Attorney General
      WI Department of Justice
      P.O. Box 7857
      Madison, WI 53707-7857
          21.          2020               -     RES

      Lavall T. Lee, #313650
^^'' Racine Correctional Institution
      P.O. Box 900
      Sturtevant, WI 53177
                             MUTUAL RELEASE AND SETTLEMENT AGREEMENT

     This Mutual release and Settlement Agreement: ("Agreement") is made among
     Plainfciff LavaU T. Lee ("Plaintiff"), the Stafce'of Wisconsin ("State"),'
     the Wisconsin Department of Corrections ("WDOC") and all employees of
     those entities (collectively, "Defendants").
     WHEREAS, Plaintiff filed a Complaint in the U.S. District Court for the
     Eastern District of Wisconsin and the case is pending in that Court as
     Case Number;_2020-CV~396_, and
     WHEREAS, Plaintiff and Defendants desire to Settle Case Number? 2020-CV-396
     without the cost, expense, and uncertainity of fcrial and withouta3mission
     of liability,
     NOW THEREFORE, in consideration of the monies, mutual promises, and covenants
     contained herein, the parties agree as follows;
  '' 1.) Set £lemen £ Amo un t. The State agrees to pay the amount of Four Hundred
          'in3~FTFty~THouiai'd Dollars ($450,000), within 30 days after full
          execution of this agreement, by check made payable fco the Escrow Account
          of Attorney

     2.) Additional Agreement. The State agrees that the praatioe of directly
         ^prayTng—QTeoresTn~Uaps icum spray inches away from the eyes and the use
         of ^e^_re^^^n^ wfD. not be used while blindly escorting an inmate
         between units or-any other Administrative building with an inmate's hands
         cuffed.behind his back.
   - 3.) Dismissal. Plaintiff agrees and stipulates to sign any documents necessary
          ToF-'fcK^—dismissal, with prejudice, of Eastern District Case Number;
          2020-CV-396.
     4.) R®leas®_of__Claims^. In exchange for the consideration listed above,
          PlallrtTTIT'reTeases and forevec discharge the State, the WDOC, the
          Defendants, and their officers, agentsy employees, successors, personal
          representatives, and insurers (the "Released Parties") from any and all
         manner of action or actions (including cause <je causes of action, suits,
         debtsy covenants, agreements, liabilities, rights, damages, cost, claims
          of interests, awards of attorney fees, claims and demands of every kind |
          and nature whatsoever^ in law or equity, whether based on State of Federalj
          law), that relate to any action or inaction - of any State of Wisconsin j
          or WDOC employee - that took place on any date before this agreement is
          fully executed.




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 5») Covenant Not To Sues This agreement shall also be deemed a covenant
     By~tRe—FTaTnt~ETFT~rTot to sue any of the Released Parties for any of
     the matters released or discharged by the agreement, nofc to file any
     Appeal to any Court Decision in the action, and not to file any new
     lawsuits, claims or complaints in any Court, or with any State or
     Federal agency or licensing boacd against Defendants or their "Heirs,"
     or against the State, the WDOC, its successors, agents, and assigns or
     any former ,or current employee of the State if such Claims relate to
     any action or inaction - of any Sfcate of Wisconsin or WDOC employee -
     that took place on any" date before this agreement fully executed in
     this above-entifcled case number: 2020-CV-396 .

 6«) _p^~L1^-Sfc^-_F^^^A^l_^s^_°_-l^ The released parties agree that
     ZRe~~SeTiT^^n^anTdunT~pa'yaTH^~To^1^ Plaintiff wili not be subject to
     Wis. Sfcat. 301.325 or any other pay-to-stay fee policy, whether any such
     Actf Policy or Provision exisfcs now or in the future.

 7.) Cos^ta^_and__Att^>cneYf_s Fe^es* Each party will bear its own costs and
     attorneys'            fees.       •   .     .   .   .   ....   ,   ^.


 8*) .^l?iy?._^i_A&^^51^.t.* This agreetnsnt shall bind fche.-undersiE.ned and theic
   ' ft^lKsr,~~a3u^Tskv^or3',Ci.pe.Kaoinai-' reprfisenfcatives , successocs , !'cind' assigng
     of the undersigned.
 9.) AdditionalAgceeinent. The Sfcata agrees to take care of "Lee's" State
     anTTe^STaTT^cometax burden! Plaintiff Lee will incur from "Lee s"
     $450,000.00 Settlement amount 5 or in the alternativey add 40% to the
     $'/i50}000.00 Settlement amount.

10.) In Addition. Plaintiff further agrees to not hold Defendants to make
     anya^mTisTon of culpability in violating Lee's Civil (Constitutoinal)
     Rights in case. number; 2_0^0-CV-_396_.
11») Compromise. Of Disputed Claim. This agreemGnt is a full, final, and
     compTete^oinprb1iiTie~^3T-a-^Ts'puted claim. It is understood and agreed
     by the undersigned that this Settlement is the compromise of disputed
     claim, that any payment made hereunder is not to be iconstrued as an
     admission of liability on the part of the Released Parties herein, and
     that said released Parties deny liability of wrongdoing and intend
     merely to avoid litigation and buy their peace..
12.) The Release And Settlement Agreement Has Been Read And Understood By
      The Undersigned Before Signing,

     Dated this 2_ls_t day of Ma^, 2020.
                                                             Da tad this            of    202<


LavaTIT. LeS7~W3S5Q'
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